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     'iloAO 245B (CASD) (Rev 12/11) Judgment in a Criminal Case
                Sheet I




                                               UNITED STATES DISTRlCT G}i)lJ~J-9 fil) H: 21
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                           .
                                                                                                            ·'·_:;'~'~F-~'Pt:<~';ll:.       ,.    ,;,'
                     UNITED STATES OF AMERICA                                        JUDGMENTlN 'A CRIMINA L CASE
                                         v.                                          (For Offenses co~~wn or ~~r N~:,~;~,,1987)

                                DOURIZAFER                                           Case Number: 12CR1852-CAB

                                                                                     DAVID 1. ZUGMAN
                                                                                     Defendant's Attorney
     REGISTRA TION NO. 32902298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) ONE (I) OF A 27 COUNT INDICTMENT

     o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count{s), which involve the following offense(s):
                                                                                                                                                   Count
     Title & Section                          Nature of Offense                                                                                   Number(s)
18 USC 371                            CONSPIRACY                                                                                                             I




        The defendant is sentenced as provided in pages 2 through                3          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not gUilty on count(s)
                                                            ---------------------------------
 181 Count(s) SIX (6) ON THE INDICTMENT                              181              is        areD dismissed on the motion ofthe United States.
 181 Assessment: $100.00 - IMPOSED

 181 See fine page                                  0 Forfeiture pursuant to order filed                                                , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs. and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                                         12CR1852-CAB
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AO 245B (CASD) (Rev. 1211 1) Judgment in a Criminal Case
           Sheet 2 -- Probation
                                                                                                            Judgment-Page        2    of   _ _3_ __
DEFENDANT: DOURI ZAFER                                                                                II
CASE NUMBER: 12CR1852-CAB
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
 FIVE (5) YEARS.

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements wi 11 not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation. it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                      STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training. or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
        officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 (3)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
        criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
        the defendant's compliance with such notification requirement.



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AO 245$      Judgment in Criminal Case
             Sheet 5 -- Criminal Monetary Penalties

                                                                                                  Judgment -   Page _ _
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DEFENDANT: DOURIZAFER                                                                      II
CASE NUMBER: 12CR1852-CAB

                                                                 FINE

      The defendant shall pay a fine in the amount of____
                                                        $_1,_OO_O_,O_O_ _ _unto the United States of America.




          This sum shall be paid __ immediately,
                                  )C as follows:

          PAYABLE FORTHWITH OR THROUGH THE INMATE FINANCIAL RESPONSIBILITY PROGRAM AT
          THE RATE OF $25 PER QUARTER DURING THE PERIOD OF INCARCERAnON, WITH THE PAYMENT
          OF ANY REMAINING BALANCE TO BE MADE FOLLOWING THE DEFENDANTS RELEASE FROM
          PRISON AT THE RATE OF $25 PER QUARTER.




          The Court has determined that the defendant does not       have the ability to pay interest. It is ordered that:

   ~ The interest requirement is waived.


           The interest is modified as follows:




                                                                                                12CR1852-CAB
